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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 United States of America                                                      Protective Order

                v.                                                            21-CR-014 (JMF)

 Tommy Perez,

                            Defendant.



       Upon the application of the United States of America, with the consent of the undersigned

counsel, and the defendant having requested discovery under Fed. R. Crim. P. 16(a)(1)(E), the

Court hereby finds and orders as follows:

       WHEREAS, the Government has made and will make disclosure to the defendant of non-

public documents, objects and information, including electronically stored information (“ESI”),

pursuant to Federal Rule of Criminal Procedure 16, 18 U.S.C. §3500, and the Government’s

general obligation to produce exculpatory and impeachment material in criminal cases. The

Government’s disclosure material may include material that (i) affects the privacy and

confidentiality of individuals; (ii) would impede, if prematurely disclosed, the Government’s

ongoing investigation of uncharged individuals; (iii) would risk prejudicial pretrial publicity if

publicly disseminated; and (iv) that is not authorized to be disclosed to the public or disclosed

beyond that which is necessary for the defense of this criminal case, all of which will be referred

to herein as “disclosure material.”
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NOW, THEREFORE, FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED:

        1. Disclosure material shall not be disclosed by the defendant or defense counsel, including

any successor counsel (“the defense”) other than as set forth herein, and shall be used by the

defense solely for purposes of defending this action. The defense shall not post any disclosure

material on any Internet site or network site to which persons other than the parties hereto have

access, and shall not disclose any disclosure material to the media or any third party except as set

forth below.

        2. Disclosure material may be disclosed by counsel to:

            (a) Personnel for whose conduct counsel is responsible, i.e., personnel employed by or

retained by counsel, as needed for purposes of defending this action;

            (b) Prospective witnesses for purposes of defending this action.

        3. The Government may authorize, in writing, disclosure of disclosure material beyond that

otherwise permitted by this Order without further Order of this Court.

        4. This Order does not prevent the disclosure of any disclosure material in any hearing or

trial held in this action, or to any judge or magistrate judge, for purposes of this action. All filings

should comply with the privacy protection provisions of Fed. R. Crim. P. 49.1.

        5. Except for disclosure material that has been made part of the record of this case, the

defense shall return to the Government or securely destroy or delete all disclosure material,

including the seized ESI disclosure material, consistent with the Rules of Professional

Responsibility, within a reasonable time following the expiration of the period for direct appeal

from any verdict in the above-captioned case; the period of direct appeal from any order dismissing


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  any of the charges in the above-captioned case; or the granting of any motion made on behalf of

  the Government dismissing any charges in the above-captioned case, whichever date is later. If the

  disclosure material is provided to any prospective witnesses, counsel shall make reasonable efforts

  to seek the return or destruction of such materials.

         6. This Order places no restriction on a defendant’s use or disclosure of ESI that originally

  belonged to the defendant.

                                       Retention of Jurisdiction
         7. The provisions of this order shall not terminate at the conclusion of this criminal

  prosecution and the Court will retain jurisdiction to enforce this Order following termination of

  the case.


  AGREED AND CONSENTED TO:

     AUDREY STRAUSS
     Acting United States Attorney


  by: _____________________________                        Date: ____1/11/2021__________
      Rushmi Bhaskaran
      Assistant United States Attorney


     ___________________________                                 1/11/21
                                                           Date: _____________________
     Jonathan Marvinny
     Counsel for Tommy Perez


SO ORDERED.



                                                                January 12, 2021

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